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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                     An arraignment hearing will be held on March 25, 2021, at 11:45
                                     a.m. If Defendant consents, the hearing will be virtual and will occur
                                     via Zoom. By March 10, 2021, defense counsel shall file a letter
                                     stating whether Defendant consents to proceed virtually. If
BY ECF                               Defendant consents, by March 17, 2021, the Government shall
                                     provide a Zoom link for the hearing.
The Honorable Lorna G. Schofield
United States District Court     By March 8, 2021, the Government shall file publicly a copy of its
                                 February 22, 2021, ex parte letter.
Southern District of New York
40 Foley Square                  Dated: March 5, 2021
New York, NY 10007                      New York, New York
       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government writes with respect to the S1 superseding indictment returned in the
above-captioned matter, which was returned yesterday and docketed this morning. The only
material change between the S1 and the original indictment is the addition of Count Two, which
charges Calk with conspiring to commit the same crime (financial institution bribery) with the
same persons, based on the same course of events, already charged substantively in Count One.
A “redline” comparing the S1 and original indictments is attached for the Court’s convenience.
While the Government is continuously reviewing its files for Rule 16 material – and will
immediately produce any new or additional such material it discovers – the Government does not
anticipate that the return of the superseding indictment or the additional count contained therein
will require the production of any new or additional discovery.

         In addition, and since the S1 indictment has now been returned, the Government
respectfully submits that its ex parte letter of February 22, 2021 no longer needs to remain under
seal, and therefore respectfully requests that the letter be unsealed and the Government permitted
to file it publicly.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney

                                         by: /s/ Paul M. Monteleoni
                                             Paul M. Monteleoni
                                             Hagan Scotten
                                             Benet J. Kearney
                                             Assistant United States Attorneys
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